                                                                                                        Electronically Filed - Jackson - Kansas City - October 27, 2022 - 12:44 PM
              IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                               AT KANSAS CITY

 ISAAC JIMENEZ, individually and on
 behalf of others similarly situated,
                                                      Case No.2216-CV24586
                         Plaintiff,
         v.
                                                      Div.    14
 THE CITY OF KANSAS CITY,
 MISSOURI,
                 Defendant.


  PLAINTIFF’S VERIFIED MEMORANDUM OF LAW IN SUPPORT OF PETITION
                 FOR TEMPORARY RESTRAINING ORDER

       COMES NOW Plaintiff Isaac Jimenez (hereinafter “Plaintiff‘’) by and through

undersigned counsel pursuant to Missouri Rule of Civil Procedure 92.02 and moves this Court for

a temporary restraining order enjoining Defendant City of Kansas City, Missouri (hereinafter the

“City”) from wage recoupment and retroactive pay based on pay methods which violate Missouri

Wage and Hour laws and the Fair Labor Standards Act (hereinafter “FLSA”) and to implement

lawful pay methods during the pendency of the temporary restraining order, which shall extend

for fifteen (15) days from the Court’s issuance of such order. In support of this motion, Plaintiff

states as follows:

       1.       Plaintiff Isaac Jimenez works as a firefighter for the City. The terms and conditions

of his employment, including compensation, are determined by the Collective Bargaining

Agreement Between City of Kansas City, Missouri and International Association of Fighters, Local

42 2021-2024 (hereinafter the "CBA"). Plaintiff is the collective class representative in this FLSA

lawsuit and hereby incorporates by reference the facts and allegations set forth in the Collective

Action Petition contemporaneously filed herewith.




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        2.       The City, as Plaintiff’s employer is charged, inter alia, with paying its firefighters

consistent with state and federal rules promulgated under the FLSA and Missouri Wage and Hour

laws.

        3.       The City proposes wage recoupment and retroactive pay to Plaintiff and other

similarly situated firefighters from May 1, 2022 that is based on an unlawful method for calculating

the firefighters’ regular rate and overtime pay, resulting in excess recoupment and undervalued

retroactive pay.

                                          BACKGROUND

        4.       This case arises from Grievance Award No. 21-21 where the City was ordered to

“make whole” affected IAFF Local 42 firefighters for back-pay resulting from collectively

bargained pay scale increases in the CBA. Pursuant to the CBA and subsequently the Grievance

Award, Local 42 firefighters, including the Plaintiff were to receive pay increases beginning May

1, 2021. See CBA, Appendix A, attached hereto as Exhibit 1; see also Award, February 15, 2022,

attached hereto as Exhibit 2.

        5.       Local 42 filed Grievance 21-21 because the City had for months, failed to pay its

firefighters in accord with the new pay scale. The City’s failures continued for months, into the

summer of 2022. See Grievance 21-21, attached hereto as Exhibit 3; see also Heizman Email, June

6, 2022, attached hereto as Exhibit 4.

        6.       On July 5, 2022, fifty-one (51) days after the City’s May 15, 2022 deadline to pay

the firefighters’ back pay and make them whole, the City, for the first time, provided an MS Excel

spreadsheet showing the amounts of back pay due to 743 Local 42 firefighters including the

Plaintiff. See Spreadsheet, attached hereto as Exhibit 5. The Spreadsheet also included pay data




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for 140 firefighters who the City claimed were overpaid during the May 2021 to July 2022 period.

See Id.

          7.       The City developed and provided a pay calculator with the Spreadsheet. Therein

the City disclosed its method for calculating overtime pay – i.e., Overtime Hours x (Incentive Rate

+ 0.5 x Regular Rate). See Calculator, attached hereto as Exhibit 6.

          8.       The City’s overtime pay method violates the FLSA because overtime must be paid

at one and one-half times the employee’s regular rate. 29 U.S.C. § 207(k). This legal standard was

made clear to the City on September 29, 2021 when US District Judge Bryan Gaddy issued a

Summary Judgment Order in Adams v. City of Kansas City, Missouri, 19-CV-00093 (W.D. Mo.

Feb. 8, 2019), an FLSA collective action similar to the case at bar, where aggrieved Local 42

firefighters sued the City for its failure to lawfully calculate overtime pay. In his Order, Judge

Gaddy held:

          Because, at a minimum, the City failed to pay the regular rate (i.e., the “one...times
          the regular rate”) for hours worked in excess of 212 hours during a 28-day period,
          and thus, violated the FLSA, the Court DENIES the City's motion for summary
          judgment on the issue of whether it violated the FLSA and GRANTS Plaintiffs'
          motion for partial summary judgment.

Adams v. City of Kansas City, Missouri, 19-CV-00093-W-WBG, 2021 WL 4484551, at 16 (W.D.

Mo. Sept. 29, 2021), motion to certify appeal denied, 19-CV-00093-W-WBG, 2022 WL 138102

(W.D. Mo. Jan. 14, 2022). A copy of the Order is attached hereto as Exhibit 7.

          9.       The City’s unlawful method of calculating overtime results in actual underpayment,

for example:

Firefighters earning a base rate of pay (without incentives) of $15.00 per hour and a regular rate

of pay (including incentives) of $16.00 with 20 hours of overtime, under the City’s method would

earn overtime pay of $460.00.



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                     Overtime Hours x (Incentive Rate + 0.5 x Regular Rate)

                             20 x ($15.00 + (0.5 x $16.00) = $460.00

Utilizing lawful FLSA pay methods, the same firefighter would earn $480.00

                               Overtime Hours x (1.5 x regular rate)

                                  20 x (1.5 x $16.00) = $480.00

       10.     On September 2, 2022, Local 42 President, Dan Heizman raised the forgoing issue

with the City and demanded that it amend its calculations to comport with the FLSA rules and

Judge Gaddy’s Order. Instead, on September 22, 2022, the City informed Mr. Heizman that it

intended to begin wage recoupment from the 140 firefighters who the City alleged were overpaid,

and retroactive pay pursuant to the Grievance Award for the remainder of the class. See Clevenger

Email, September 22, 2022, attached hereto as Exhibit 8.

       11.     The City withdrew its notice of wage recoupment and retroactive pay based on the

parties’ desire to make Fire Department Financial Officer, Joe Pehlman available to Local 42 for

a meeting to explain the City’s overtime calculations.

       12.     On October 10, 2022, Mr. Pehlman informed Local 42 that he agreed with its

position – i.e., that the City applied an unlawful method of regular rate calculation, which resulted

in firefighter overtime underpayment. See Pehlman Email, October 10, 2022, attached hereto as

Exhibit 9.

       13.     On October 18, 2022, Kansas City Fire Chief Donna Lake concurred “with the

information that [Joe Pehlman] provided [because] he is the most versed in FLSA within KCFD.”

See Lake Email, October 18, 2022, attached hereto as Exhibit 10.




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          BASIS FOR GRANTING THE TEMPORARY RESTRAINING ORDER

         14.   Missouri Supreme Court Rule 92.02(b) provides that a temporary restraining order

may be issued upon presentation of an affidavit from the party seeking the order that immediate

and irreparable injury, loss, or damage will result in the absence of the relief.” On a motion for

preliminary injunction, courts should weigh (1) the moving party’s probability of success on the

merits, (2) the threat of irreparable harm to the movant absent the injunction, (3) the balance

between this harm and the injury that the injunction's issuance would inflict upon other interested

parties, and (4) the public interest. State ex. rel. Director of Revenue v. Honorable A. Rex Gabbert,

925 S.W.2d 838, 839 (Mo. 1996). Additionally, the primary objective of a temporary restraining

order is to maintain the status quo. Salau v. Deaton, 433 S.W.3d 449, 453 (Mo.App. W.D. 2014).

The temporary restraining order requested here clearly meets these standards.

                A TEMPORARY RESTRAINING ORDER IS NECESSARY
                        TO PRESERVE THE STATUS QUO

         15.   Missouri Wage and Hour law, the FLSA, and the US District Court for the Western

District of Missouri correspondingly require employers like the City to calculate employee hourly-

based overtime at one and one-half times the employee’s regular rate of pay. Thus, state and federal

law governing the City’s pay methods is the status quo and the City admits the same. See Exhibit

9; see also Exhibit 10.

         16.   Further, the City’s attorney ordered in her Grievance Award that Local 42

firefighters including the Plaintiff were entitled to be “made whole” by May 15, 2022, and the City

has failed to do so. The remedy for this impairment of Grievance Award No. 21-21 is an injunction

of the City’s continued policy of underpaying its employees in defiance of that Award, Missouri

Wage and Hour law, the FLSA, and Judge Gaddy’s September 21, 2021 Summary Judgment

Order.

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        17.     Preserving the status quo – i.e., lawful payment of wages, is critical to the broader

public interest at stake in this case. It is well recognized that “[t]hat employees shall have the right

to organize and to bargain collectively through representatives of their own choosing.” Mo. Const.

Art. I, § 29. This provision applies to public employees. Independence-Nat. Educ. Ass'n v.

Independence School Dist., 223 S.W.3d 131, 140-41 (Mo. banc 2007); see also City of

Chesterfield, 386 S.W.3d 755 (Mo. banc 2012); and American Federation of Teachers v.

Ledbetter, 387 S.W.3d 360 (Mo. banc 2012). It “imposes on employers an affirmative duty to

bargain collectively.” City of Chesterfield, 386 S.W.3d at 762. Absent this duty, the rights

guaranteed to public employees under Article I, Section 29 would be rendered meaningless. Id. at

760. Contracts between governing bodies and employee groups are afforded the same legal respect

and protections as contracts between governing bodies and individuals. Independence-Nat. Educ.

Ass'n, 223 S.W.3d at 140. Though a line of cases prior to 2007 held that cities can unilaterally

modify collective bargaining agreements because they are not binding contracts, the Supreme

Court in Independence-Nat. Educ. Ass'n emphatically overruled these cases. Id. at 139-40.

Accordingly, the Supreme Court has held that a city cannot unilaterally change the terms of a CBA.

Id.

        18.     The CBA provides that firefighters like the Plaintiff are entitled to overtime at a

rate of one and one-half times the regular rate of pay. This term was the result of collective

bargaining between Plaintiff’s labor union and the City. The City’s refusal to make firefighters

whole through lawful pay methods, amounts to a denial of rights guaranteed under the Missouri

Constitution. As set forth herein, the Plaintiff is directed affected by such denial; and the Court

should not, as a matter of policy, permit a municipality to arbitrarily and unilaterally discharge its

Constitutional duties. See City of Chesterfield, 386 S.W.3d at 762.



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                 A TEMPORARY RESTRAINING ORDER IS NECESSARY
                         TO AVOID IRREPARABLE HARM

         19.    Clearly, a temporary restraining order is necessary to protect the Plaintiff from

irreparable harm. The City knows it is calculating firefighter overtime using unlawful methods,

yet the City has taken no affirmative action to resolve the issue. This, after more than eighteen (18)

months of the effective date of the 2021-24 CBA, more than one year after Judge Gaddy issued

his Order addressing overtime pay, and more than eight (8) months after the City’s attorney issued

the Grievance Award. The Plaintiff and his fellow firefighters have waited long enough; they have

exhausted all available remedies; and the City still offers no corrective action.

         20.    The necessity for a temporary restraining order is amplified in this case because the

City alone has the authority to execute wage recoupment and retroactive pay at any time. Without

a temporary restraining order from the Court, the City may leave its firefighters without wages

lawfully earned for many months or years while the underlying wage and hour action proceeds.

Without a temporary restraining order from the Court, the City may continue to calculate

firefighter overtime using unlawful methods.

         21.    Finally, a temporary restraining order will not affect the City’s financial status

whatsoever. The amount in controversy is lawfully owed to the Plaintiff and his fellow firefighters.

Put another way, the monies withheld by the City have always belonged to the firefighters.

Accordingly, the balance of harms tips decidedly in favor of granting the temporary restraining

order.

         22.    Based on the foregoing, Plaintiff respectfully requests the court require Plaintiff to

post a cash deposit of $500 or less in lieu of bond.

         WHEREFORE, Plaintiff on behalf of firefighters similarly situated, respectfully requests

that the Court issue an Order enjoining the City from (1) wage recoupment and retroactive pay

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based on unlawful methods during the pendency of this temporary restraining order, which shall

extend for fifteen (15) days from the Court’s issuance of said Order; (2) continuing to pay

firefighter overtime utilizing unlawful methods; in addition to (3) requiring Plaintiff to post a cash

deposit of $500 or less in lieu of bond; and (4) such other relief as the Court deems appropriate.

                                               Respectfully submitted,

                                               BOYD KENTER THOMAS & PARRISH, LLC

                                               /s/ Raymond E. Salva, Jr.________________
                                               Raymond E. Salva, Jr.     Mo. Bar No. 66191
                                               John B. Boyd              Mo. Bar No. 23716
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                                               ATTORNEYS FOR PLAINTIFFS

                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 27th day of October 2022, Plaintiff’s Verified Memorandum of
Law in Support of Petition for Temporary Restraining Order, and Plaintiff’s Verification Pages
were electronically filed with the Clerk of the Court by using the CM/ECF system, which will send
a notice of electronic filing to all attorneys of record, in addition to service by consent via email to
City Attorney Alan Holtkamp:

       Alan Holtkamp
       City Attorney
       Alan.Holtkamp@kcmo.org
       Phone: 816-512-3149
       Facsimile: 816-513-3133

                                               /s/ Raymond E. Salva, Jr.___________
                                               Raymond Salva, Jr.




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